                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for lack of prosecution.
On November 19, 2010, the court sent the parties a Journal Entry instructing Plaintiff to file a response to Defendant's recommendations, or file a request to withdraw or request that a trial be scheduled by March 15, 2011. The Journal Entry advised that failure to comply with the deadlines set forth therein might result in dismissal of Plaintiff's appeal.
Plaintiff's deadline has passed and the court has not received Plaintiff's written response or any further communication from Plaintiff. As a consequence, the court finds this matter should be dismissed for lack of prosecution. Now, therefore,
IT IS THE DECISION OF THIS COURT that this matter is dismissed.
Dated this ___ day of March 2011.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to:Fourth Floor, 1241 State Street, Salem, OR. *Page 2 
 Your Complaint must be submitted within 60 days after the date ofthe Decision or this Decision becomes final and cannot be changed.
 This document was signed by Presiding Magistrate Jill A. Tanneron March 25, 2011. The Court filed and entered this documenton March 25, 2011. *Page 1 